
PER CURIAM.
Mendenhall filed a motion for post-conviction relief pursuant to rule 3.850, Florida Rules of Criminal Procedure, containing two allegations, one being that he did not receive all the credit for time served in jail to which he is entitled. Because the record before us does not refute this allegation, we remand this case and direct the trial court to hold an evidentiary hearing so that Men-denhall may receive all the jail credit time to which he may be entitled. See Wright v. State, 355 So.2d 870 (Fla. 2d DCA 1978). Appellant’s other allegation has no merit, and we affirm the revocation of his probation.
OTT, C. J., and RYDER and CAMPBELL, JJ., concur.
